 Case 1:11-cr-00021-SPM-GRJ          Document 46     Filed 09/14/11    Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF FLORIDA
                           GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                      CASE NO.: 1:11cr21-SPM

WILLIAM EDWARD HOLLIDAY, JR.
and LINDA ELIZABETH ENOS,

           Defendants.
______________________________/

                 ORDER CONTINUING SUPPRESSION HEARING

       This cause comes before the Court on Defendant Holiday’s Motion to

Continue the Hearing on the Defendant’s Motion to Suppress. Doc. 45. Upon

consideration, it is

       ORDERED AND ADJUDGED:

       1.     The motion (doc. 45) is granted.

       2.     The suppression hearing scheduled for 10:00 a.m. on Thursday,

September 22, 2011, is cancelled.

       3.     Defendant’s attorney shall contact the Court to reschedule the

hearing if the pleas negotiations fall through.

       DONE AND ORDERED this 14th day of September, 2011.

                                           s/ Stephan P. Mickle
                                           Stephan P. Mickle
                                           Senior United States District Judge
